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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

 KSENIA SHNYRA et al,

                                                Plaintiffs,

                              v.
                                                                  19-CV-02420 (GHW)
 STATE STREET BANK & TRUST COMPANY,
 INC.,

                                               Defendant.


                              SECOND AFFIDAVIT OF COUNSEL
                         IN FURTHER SUPPORT OF STATE STREET’S
                                   FEE APPLICATION

           1.      I am submitting this Second Affidavit of Counsel in further support of State Street

Bank & Trust Co.’s application to the Court for an award of attorneys’ fees, pursuant to the Court’s

Order on Sanctions dated November 24, 2020, and in response to the objection filed by one of the

Plaintiffs in this case (Dr. Shnyra) on December 18, 2020. I note that only Dr. Shnyra has

submitted an objection; not Mr. Ratner, and not the other two Plaintiffs.

           2.      Dr. Shnyra complains about the billable rates charged by Nixon Peabody to State

Street. As I noted in my initial Affidavit of Counsel (the “First Affidavit”), the rates charged to

State Street are substantially discounted from the rates ordinarily charged by me and the other

Nixon lawyers working on this case. (First Affidavit, ¶ 3). Mr. Tauster and Mr. Caputo live and

work in New York, and I am admitted to the New York Bar (since 1977). I have been practicing

since 1976 and have been awarded a number of designations by Bar-related organizations for my

work as an employment lawyer (Super Lawyer, Best Lawyers, Chambers) over the 44 years I have

been practicing. My area of specialization is employment litigation and counseling. Mr. Tauster

and Michael Caputo are also experienced practitioners of employment litigation, having been

admitted to the New York Bar in 2008 and 2013, respectively. I have also been directly involved
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in establishing the competitive billing rates for the employment attorneys who work for Nixon

Peabody. I am the Practice Group Leader for Nixon Peabody’s Labor and Employment Practice

Group. In that role, I have to be knowledgeable about billing rates in the communities in which

we have offices, including our four New York offices, and about the amounts we charge to clients

for our employment law litigation services. Based on my extensive experience as a practitioner

and manager of other practitioners working in this field, including in New York, the rates charged

to State Street are substantially discounted, entirely reasonable, and less than one would expect for

a matter like this in Federal Court.

           3.      Dr. Shnyra objects to including three time entries for dates following issuance of

the Court’s November 24, 2020 Order (total billed: $1,731.60). There is no cut-off in the Court’s

Order, and, unfortunately, State Street was still “chasing” the full discovery to which it was entitled

on the date the First Affidavit was filed. (First Affidavit, ¶ 7). All three of these objected to time

entries relate directly to Nixon Peabody’s continuing efforts to continue to “chase” the discovery

from Plaintiffs, and to seek attorneys’ fees pursuant to the Court’s Order.

           4.      Dr. Shnyra is confused about Mr. Tauster’s personal knowledge regarding the

inadequacy of Plaintiffs’ production. Plaintiffs have not questioned such deficiency, or that it

consisted of previously filed EEOC documents. Mr. Tauster personally reviewed the early

production by Plaintiffs, and determined that it was inadequate because it appeared to contain only

the documents that Plaintiffs had previously produced to the EEOC, and did not come close to

fully responding to State Street’s Request for Production of Documents, among other deficiencies.

He was not stating, expressly or by implication, that someone else had reviewed the early

production. Most importantly, he had to see what had been produced in order to determine that it

was grossly inadequate. As one reviews the time entries, one can see that on September 22,

Mr. Tauster did his initial review of the documents, and he immediately began to “pursue” the

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missing documents because the Plaintiffs’ production was so deficient. See time entries for

September 23-30, 2020. These were exactly the Compensable Tasks for which the Court awarded

attorney’s fees as a sanction against Plaintiffs and Mr. Ratner.

           5.      Dr. Shnyra asserts that in charging .3 hours for certain correspondence, Mr. Tauster

charged too much time. To begin with, there are several entries for .1 hours or .2 hours for such

correspondence. See time entries for September 25, 28 and 30, 2020, and October 5, 2020.

(Compare to Shnyra Objection, ¶ 37). Where more than .1 or .2 hours are recorded by Mr. Tauster,

it was because Mr. Tauster spent that time dealing with Plaintiffs’ and Mr. Ratner’s failure to

follow the rules and comply with the Court’s orders.

           6.      Dr. Shnyra apparently objects to counsel communicating with his client

(Christopher J. Powell of State Street) about the deficiencies in Plaintiffs’ production, and the

efforts to secure the discovery to which State Street was entitled. In fact, the only communications

with Mr. Powell for which fees are sought, concern the persistent failures to produce written

discovery by Plaintiffs, and what State Street wanted to do about it. Mr. Powell is an attorney at

State Street responsible for managing outside counsel on employment law matters. As is clear

from the First Affidavit, Plaintiffs’ and their counsel’s sloth and recalcitrance required State Street

to expend a great deal of State Street’s resources. In doing so, counsel for State Street required

Mr. Powell’s consent. Keeping the client informed about these efforts was expected and essential.

Mr. Powell was directly involved in the discussions concerning Plaintiffs’ repeated failures to

produce the required discovery, and the remedies for it, and State Street’s efforts to “chase” the

discovery. Had Plaintiffs simply done what was required, the consultation with Mr. Powell about

Plaintiffs’ failures would not have been necessary.

           7.      Dr. Shnyra also objects to “block billing” on some time entries on Nixon Peabody’s

invoices to State Street. State Street does not require Nixon Peabody to breakdown its work for it

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item by item, despite what Dr. Shnyra would prefer. No one expected that State Street would have

a reason to seek sanctions and submit its bills in any form other than in the exact format submitted

to State Street. (See First Affidavit, ¶¶ 2, 4). All of the time submitted with the First Affidavit

relates to Compensable Tasks only, and therefore the block billing is a matter of no consequence.

As a matter of fact, only a small percentage of the time entries refer to multiple tasks, and, as to

those, all tasks are related to each other, and concern only Compensable Tasks. As an example,

see the time entries for David Tauster on October 21 and 27, in which all of the related tasks

concern preparation of the motion for sanctions.

           8.      The sum for Mr. Tauster is incorrect by $5.00, but the total sum for all time spent

for Compensable Tasks, $37,119.60, appearing in paragraph 5 of the First Affidavit is correct

(including the correct number for Mr. Tauster). It is that sum ($37,119.60) which State Street is

requesting as a sanction.

           9.      For the reasons set forth in the First Affidavit and this one, and given my knowledge

of the work undertaken by Nixon Peabody because of Plaintiffs’ and Mr. Ratner’s failures to

comply with the rules and this Court’s orders, and my years of experience as a practitioner and

manager, I have no hesitation in stating that:

                   (1)    the time recorded was necessary, and was spent by me and my colleagues;

                   (2)    the time spent was reasonable for all tasks; and

                   (3)    the rates for the work performed by all counsel and our paralegal were

reasonable given the background and experience of these professionals, and are at least

consistent with rates charged for comparable work by comparable attorneys in New York.

           Sworn to under the pains and penalties of perjury this 22st day of December, 2020.


                                                                /s/ David S. Rosenthal
                                                         David S. Rosenthal

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